                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA                )
                                        )
v.                                      )        Case No. 3:13-00097-24
                                        )        Magistrate Judge Knowles
RYAN MOORE                              )


                                O R D E R

     This matter is scheduled for a Bond Revocation Hearing

before the undersigned on February 20, 2014, at 2:30 p.m.

     IT IS SO ORDERED.




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                                     E. CLIFTON KNOWLES
                                     United States Magistrate Judge




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